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                                   STATEMENT OF FACTS

       On January 6, 2021, your affiant, Michael J. McGillicuddy, was on duty and performing
my official duties as a Special Agent with the Federal Bureau of Investigation’s (FBI’s)
Washington Field Office (WFO). Specifically, I was assigned to the Shift 1 Operations Group,
which was forward deployed to the vicinity of the United States (U.S.) Capitol upon WFO’s Crisis
Response Plan activation, tasked with investigating criminal activity in and around the Capitol
grounds. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of a violation of Federal criminal
laws. The Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the Capitol. On January
6, 2021, the exterior plaza of the Capitol was also closed to members of the public.

         On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,
first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the U.S. House of Representatives and the U.S.
Senate, and with Vice President Mike Pence present and presiding over the Senate, a large crowd
gathered outside the U.S. Capitol. As noted above, temporary and permanent barricades were in
place around the exterior of the Capitol building, and U.S. Capitol Police were present and
attempting to keep the crowd away from the Capitol building and the proceedings underway inside.
At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up, and
over the barricades, and officers of the U.S. Capitol Police and the crowd advanced to the exterior
façade of the building. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or
weapons checks by U.S. Capitol Police Officers or other authorized security officials. At such
time, the certification proceedings still underway, the exterior doors and windows of the Capitol
were locked or otherwise secured. Members of the U.S. Capitol Police attempted to maintain order
and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m., individuals in the
crowd forced entry into the Capitol, including by breaking windows and by assaulting members
of the U.S. Capitol Police, as others in the crowd encouraged and assisted those acts. Shortly
thereafter, at approximately 2:20 p.m. members of the House and Senate, including the President
of the Senate, Vice President Pence, were instructed to—and did—evacuate the chambers.
Accordingly, all proceedings of the U.S. Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the Capitol, including the danger posed by individuals who had
entered the Capitol without any security screening or weapons check, Congressional proceedings
could not resume until after every unauthorized occupant had left the Capitol, and the building had
been confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building


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had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 6, 2021, at approximately 9:18 p.m. (i.e., the same night of the above-
referenced activities), a self-described non-profit Internet service emphasizing traditional Judeo-
Christian principles posted an exclusive video interview with an individual whom the reporter
identified as “Leo Kelly,” and whom I later confirmed to be LEO CHRISTOPHER KELLY. In its
description of the video, the website described KELLY as “… one of the first men to breach the
Capitol building and go inside with dozens of others.” During the interview, KELLY
acknowledged being inside the U.S. Capitol for between 30 and 60 minutes. KELLY stated that,
when encountering law enforcement, he and others were “… mostly respectful, as respectful as
you can be when you’re kind of really pushing in on somebody’s space like that.” KELLY further
stated that he got all the way to the U.S. Senate floor and said a prayer (i.e., with others).
Specifically, the interview includes approximately 17 seconds of video footage that KELLY likely
filmed with his mobile telephone from the dais of the Senate floor during the insurrection. While
the footage was played during the interview, the reporter said “… you shot some video in there,”
to     which     KELLY        acknowledged,      “Yeah.”      The    reporter    then     continued,
“… we’re going to show some of that.” KELLY’s footage included desks that were open and in
disarray and other persons involved in the insurrection. The area of the Senate floor that KELLY
filmed appeared to be overtaken as there were no members of the Senate present and no significant
law enforcement presence at that time. Upon being asked how he felt about what happened that
day, KELLY stated that he felt “conflicted,” as “… you violate someone else’s space … force your
way into a building … in some ways that really feels wrong … but, … that [space] really does
belong to us.” KELLY continued, “… that should only be an absolute last resort … maybe we
shouldn’t have done that … it’s just, you come to the end of your rope … and you get swept up in
a movement … and there’s a bunch of people running and doing this … it’s not the logical mind
that’s working anymore … you’re just reacting to things and, finally, there’s a chance that you can
be heard … we took that chance … God will judge us … perhaps I did something wrong … I tried
to be as respectful as I could while I was in there, you know, while still saying what I felt needed
to be said.”

        On January 8, 2021, I performed a Google image search for “Leo Kelly” and located
KELLY’s profile picture at a former employer located in Cedar Rapids, Iowa. Accordingly, I
positively identified the individual in the profile picture as one in the same as the subject of the
above-referenced video interview. I then performed public records searches using KELLY’s name
and the name of his former employer to fully identify KELLY, a resident of Cedar Rapids. Based
on KELLY’s driver’s license photograph obtained from the Iowa’s Department of Transportation,
I further confirmed that KELLY was the subject of the above-referenced interview.

       On January 11, 2021, The Gazette, a daily print newspaper and online news source
published in Cedar Rapids, released a news article on its website, entitled “Cedar Rapids man says


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he entered US Capitol with mob but was not violent: ‘That is not who I am.’” The article’s reporter
had spoken to KELLY earlier that same day. Among other comments, KELLY told the reporter,
“‘If the FBI or whoever calls me — I mean, they know where to find me, I’m sure — I’ll talk to
them,’ [KELLY] said. ‘I understand there could be consequences for what happened and I will
accept those and deal with them.’”

        On January 14, 2021, the FBI’s Cedar Rapids Resident Agency was contacted by a Deputy
United States Marshal and acquaintance of KELLY’s. The Deputy United States Marshal advised
that KELLY had contacted him subsequent to the above-referenced events at the U.S. Capitol (i.e.,
as KELLY was driving back to Iowa). Specifically, KELLY said that he would turn himself in if
an arrest warrant was issued for him.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
KELLY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.




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         Your affiant submits there is also probable cause to believe that KELLY violated 40 U.S.C.
§ 5104(e)(2)(A), (C), and (G), which makes it a crime to willfully and knowingly (A) enter or
remain on the floor of either House of Congress or in any cloakroom or lobby adjacent to that
floor, in the Rayburn Room of the House of Representatives, or in the Marble Room of the Senate,
unless authorized to do so pursuant to rules adopted, or an authorization given, by that House; (C)
with the intent to disrupt the orderly conduct of official business, enter or remain in a room in any
of the Capitol Buildings set aside or designated for the use of— (i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; or (ii) the
Library of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


Date: January 16, 2021                                Respectfully submitted,


                                                      _________________________________
                                                      Special Agent Michael J. McGillicuddy
                                                      FBI Washington Field Office


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of January 2021.




                                                      _________________________________



                                                      UNITED STATES MAGISTRATE JUDGE




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